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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,

vs.                                                     CASE NO. 00-CR-80541
                                                        HON. GEORGE CARAM STEEH


YUK RUNG TSANG,

                     Defendant.

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                  ORDER DENYING DEFENDANT'S MOTION (# 340)
                    TO SET ASIDE PROTECTIVE ORDER (# 333)

       Defendant Yuk Rung Tsang moves to set aside this court's July 5, 2007 Order

restraining under penalty of contempt Tsang, William Anthony Digilio, or any of their

associates, friends or family members from having any contact with the jurors, including the

family members of the respective jurors, that were involved in the matter of United States

v. Yuk Rung Tsang et al., Case No. 00-80541. Tsang's attempts to contact jurors for the

purpose of challenging his jury trial conviction for conspiracy to distribute more than 100

grams of heroin have been repeatedly rejected by this court and the Sixth Circuit, as

explained in this court's December 1, 2005 Order dismissing Tsang's 28 U.S.C. § 2255

motion for relief from his 360 month sentence:

              Defendant's challenges to the jury verdict, that defendant possessed
       more than 100 grams of heroin, when defendant was in fact charged with
       conspiracy to distribute more than 1 kilogram of heroin, were thoroughly
       reviewed and rejected by the Sixth Circuit Court of Appeals. [United States
       v. Tsang, No. 02-1776, 96 Fed. Appx. 318, 2004 WL 874783 at **2 (6th Cir.
       2004)]. Indeed, the Sixth Circuit explained to defendant:
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               [T]he Supreme Court has recognized that "juries [may] acquit
               out of compassion or compromise or because of 'their
               assumption of power which they had no right to exercise, but
               which they disposed through lenity.'" Standefer v. United
               States, 447 U.S. 10, 22 [ ](1980) (quoting Dunn v. United
               States, 284 U.S. 390, 393 [ ] (1932)). For these reasons,
               courts do not allow inquiry into jurors' deliberations or the
               reasons for the verdicts they collectively reach. United States
               v. Powell, 469 U.S. 57, 68-69 [ ] (1984); United States v.
               Meyers, 646 F.2d 1142, 1145 (6th Cir. 1981). Moreover, a jury
               verdict will not be reversed simply because it is inconsistent or
               because the jury acquitted a defendant of a predicate offense.
               United States v. Samuels, 308 F.3d 662, 669 (6th Cir. 2002),
               cert. denied, 537 U.S. 1225 [ ] (2003).

      Id. at **2. Defendant's current motions seeking to inquire into his jury's
      deliberations, or this court's assessment of the jury's deliberations, are
      unauthorized by law, and at best, are simply moot.

December 1, 2005 Order, at 2 (quoting March 30, 2005 Order, at 2-3). Tsang's instant

motion to set aside the July 5, 2007 Protective Order based on "newly discovered"

evidence and purported Fifth Amendment violations are, and remain, wholly without merit.

Accordingly,

      Defendant Tsang's motion to set aside the July 5, 2007 Order is hereby DENIED.

      SO ORDERED.

Dated: June 3, 2008


                                             s/George Caram Steeh
                                             GEORGE CARAM STEEH
                                             UNITED STATES DISTRICT JUDGE


                                   CERTIFICATE OF SERVICE

                    Copies of this Order were served upon attorneys of record on
                          June 3, 2008, by electronic and/or ordinary mail.

                                       s/Josephine Chaffee
                                           Deputy Clerk



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